Case 1:23-cv-04738-KPF Document130 Filed 05/24/24 Pagelof1

May 24, 2024

Via ECF

The Honorable Katherine Polk Failla, U.S.D.J.
Thurgood Marshall United States Courthouse
40 Foley Square

New York, New York 10007

Re: Securities and Exchange Commission v. Coinbase, Inc. et al.,
23 Civ. 4738 (KPF)

Dear Judge Failla:

Plaintiff Securities and Exchange Commission and defendants Coinbase, Inc. and
Coinbase Global, Inc., respectfully submit the enclosed Stipulation and Proposed
Protective Order and Stipulation and Proposed Fed. R. Evid. 502(d) Order, each of which
conforms with the Court’s May 22, 2024 Order (D.E. 127).

Respectfully submitted,

L, Uy

Patrick R. Costello
Counsel for Plaintiff

Kevin S. Schwartz “~
Counsel for Defendants

Cc: All counsel of record (via ECF)
